 Case:
   Case:
       3:07-cv-00400-DCN
          08-3677 Document:
                         Doc 006111595348
                             #: 45 Filed: 02/19/13
                                              Filed:102/19/2013
                                                      of 1. PageID Page:
                                                                   #: 7861

              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                               William K. Suter
                                                               Clerk of the Court
                                                               (202) 479-3011
                              February 19, 2013


Clerk
United States Court of Appeals for the Sixth Circuit
524 Potter Stewart Courthouse                                       FILED
100 East Fifth Street                                             Feb 19, 2013
Cincinnati, OH 45202                                      DEBORAH S. HUNT, Clerk



      Re: Cleveland R. Jackson
          v. Marc C. Houk, Warden
          No. 12-7159
          (Your No. 08-3677)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                        Sincerely,



                                        William K. Suter, Clerk
